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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. KALKA2023 OK 113Case Number: SCBD-7576Decided: 11/20/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 113, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
Joseph Dewayne Kalka, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Probable Cause Affidavit, Information, Plea of Guilty/Summary of Facts, and Judgment and Sentence, in the criminal matter of State of Oklahoma v. Joseph Dewayne Kalka, Case No. CF-2022-265, in the District Court of Lincoln County. On October 24, 2023, Respondent Joseph Dewayne Kalka entered a plea of guilty to Count 1: Domestic Assault and Battery by Strangulation, a felony, in violation of 21 O.S., § 644(J), and Count 2: Domestic Abuse - Assault and Battery, a misdemeanor, in violation of 21 O.S., 644(C). The Court sentenced Respondent to a 3-year term of imprisonment for Count 1 and a 1-year term of imprisonment for Count 2, with execution of the sentence suspended, and fines in the amount of $200.

¶2 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules."

¶3 Rule 7.3 of the RGDP provides: "upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court."

¶4 Having received certified copies of these papers and orders, this Court orders that Joseph Dewayne Kalka is immediately suspended from the practice of law. Joseph Dewayne Kalka is directed to show cause, if any, no later than December 5, 2023, why this order of immediate interim suspension from the practice of law should be set aside. See Rule 7.3, RGDP. The OBA has until December 19, 2023, to respond.

¶5 Pursuant to Rule 7.4 of the RGDP, Joseph Dewayne Kalka has until January 3, 2024, to show cause in writing why a final order of discipline should not be made. The written return shall be verified and expressly state whether a hearing is desired. The lawyer may, in the interest of explaining the conduct or by way of mitigating the discipline to be imposed, file a brief and/or any evidence tending to mitigate the severity of discipline. The OBA has until January 17, 2024, to respond.

¶6 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE on November 20, 2023.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



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	Citationizer© Summary of Documents Citing This Document
	
	
		
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	Citationizer: Table of Authority
	
	
		
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	Title 21. Crimes and Punishments

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Cite
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21 O.S. 644, 
Punishment for Assault and Battery
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